OPINION — AG — ANY QUALIFIED ELECTOR WHO HAS BEEN DULY REGISTERED DURING ANY REGISTRATION PERIOD PROCEEDING ANY STATE WIDE PRIMARY, GENERAL OR SPECIAL ELECTION OR PRECEDING ANY INCORPORATED CITY OR TOWN PRIMARY, GENERAL OR SPECIAL ELECTION, WHOSE REGISTRATION HAS NOT BEEN CANCELLED AS PROVIDED BY LAW, MAY VOTE IN THE PRECINCT IN WHICH HE IS REGISTERED AND IN WHICH HE STILL RESIDES IN ANY SUBSEQUENT STATE WIDE PRIMARY, GENERAL OR SPECIAL ELECTION. CITE: 26 O.S.H. 72, 26 O.S.H. 74, 26 O.S.H. 94.1, ARTICLE III, SECTION 1 (FRED HANSEN)